Case 1:17-cv-01154-EGS Document 79 Filed 06/12/19 Page 1 of 12

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

senator RICHARD BLUMENTHAL,
Representative JERRY NADLER, et al.
Plaintiffs

 

JEFFREY CUTLER
CASE NO. 1:17-cv-01154
Joiner Plaintiff

Vv.
DONALD J. TRUMP in his official
capacity as President of United

States of America.

Defendant

Me ee ee ee ee ee ee ee ee ee ee

 

MOTION TO ENFORCE VIOLATIONS OF THE LAW AND UNITED STATES
CONSTITUTION AMMEND 1

PAGE 1 of 95
Case 1:17-cv-01154-EGS Document 79 Filed 06/12/19 Page 2 of 12

Here comes Jeffrey Cutler, acting pro se, respectfully motions to join this

case against ALL defendants to enforce violations of the law and violations of
the United States Constitution Ammend 1. Mr. Cutler was elected to public office
of Tax Collector for East Lampeter Township, Lancaster County Pennsylvania in
November 2013, by his own 1 write in vote and by getting marble #2 in a tie-
breaking drawing. After taking the Oath Of Office, and on December 31, 2013 he
filed a Pro se lawsuit (1:13-cv-2066) in this court challenging Obamacare, to
preserve the constitution and the first ammendment, because he felt the law
violates the establishment clause because he is Jewish. Mr. Culer made what he
considered a large contribution to the American Freedom Law Center to assist him
with the appeal (14-5183), and they took the case all the way to the Supreme Court

as case 15-632, after the appeals court declared his appeal valid on Aug 14, 2015.
<ref> httos://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-
dept-of-health-human-services/</ref>

Mr. Cutler has tried to get the merits of the WRIT of of Certiorari composed for
case 15-632 to case 19-10011 (Fifth Circuit Court of Appeals) via case 5:19-cv-
00834 via express mail (Tracking #EE453480741US) and it was destoyed by the
clerk’s office (OBSTRUCTION OF JUSTICE). The following week Mr. Cutler
aranged to have the document presented in person in New Orlens, LA (on March 7,
2019.) . On May 20, 2019 Mr. Cutler gave 2 documents to the clerk at the district
court in Philadelphia. One document was from Ken Krieger case 2:18-cv-05929

and the other was from Jeffrey Cutler’s case number 5:19-cv-00834 (Cutler v.

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Pelosi, et al.). The document for case 5:19-cv-00834 was an affidavit of sevice for
Brian Sims (a Pennsylvania State Representative that in his Offucial capacity had
posted an eight minute video of himself trying to prevent a woman from praying
outside the planned parenthood office on Spruce street as well as the daughters of
Ashley P. Garecht, and he was proud of actually violating the United States
Constitution, Ammend 1). The actual document for the case of

Cutler v. Pelosi 5:19-cv-00834 was destroyed (Obstruction of Justice). Mr

 

Krieger had done the actual service to Mr. Sims office in Philadelphia on May 15,
2019. As retaliation against Mr, Krieger, his Social Security Disability payments
were terminated as of June 1, 2019 based on a letter mailed May 31, 2019.
Persons have willfully and deliberately conspired to retaliate against Mr. Krieger to
continually harrass him for being Jewish. Mr. Krieger a former Philadelphia
Police Officer wounded 3 times by gun fire while an officer, resigned because of
PTSD this caused. He gets no pension from Philadelphia, and no other
compensation other than the minor award he was awared as the subject of civil
federal lawsuit called KRIEGER v. PHILADELPHIA, et al. identified as case
number 2:01-cv-02373, and was settled on the day the the trial was to start. As the
victorious party in this lawsuit he has experienced significant unexplained
monitoring and intrusion including theft of his wallet, cell phone problems due to
properties enabled by Google LLC in conjunction with members of the DEEP

STATE and the FBI, his vehicle towed twice and previosly held for ransome by the

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Case 1:17-cv-01154-EGS Document 79 Filed 06/12/19 Page 4 of 12

Philadelphia Parking authority, based on unverified parking tickets. It has been

published that the new payroll system in Philadelphia is defective <ref>
hitos://www. philly. com/news/one-philly-lawsui-labor-unions-ohilacdelohia-city-hall-payroll-
oaycheck-20190502.htm! </ref>. Based on

meeting Mr. Jeffrey Cutler, Mr. Krieger has realized he may be a target of the Klu
Klux Klan, as well as other elected officials who may be working with the KLAN
or related organization. Mr. Cutler was removed from an elected office based on
perjured testimony, had a bank account robbed (18 USC § 2113) of about one
million dollars, his mail stolen, 100% of his life long possesions stolen by Police of
East Lampeter Township he believed to be members of the Klu Klux Klan. East
Lampeter Township had previously been accused of fabricating evidence in the
trial of Lisa Michelle Lambert when federal Judge Stewart Dalzell released her
from prison. Mr. Cutler identified willful faults in the new real estate tax system
used by Lancaster County and persons that may be responsible for being

secrectly members of the Klu Klux Klan. The system used to peddle Obamacare
by the federal government had significant flaws. Based on Mr. Krieger being
asked to serve papers (the federal Summons) to Representative Brian Sims (in

his Philadelphia office at 1015 Chestnut Street) for case 5:19-cv-00834 on
ISMAY2019 in his official capacity as an elected representative of the
Commonwealth of Pennsylvania, he has also realized that persons in the
Commonwealth of Pennsylvania have violated Amendment 1 of the United States

Constitution, and are PROUD of it by posting an 8 minute video documenting the

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event. Mr. Cutler stated these activities were in furtherance of a federal crimes of
bank robbery (18 USC § 2113) and perjury (18 USC § 1001). On March 1, 2019 it
was also discovered, by Mr. Cutler while helpng Mr. Krieger get his car the first
time that East Lampeter Township, in Conjunction with High Inc. conspired
together to destroy additional evidence of a Hate Crime that was identified to the
FBI as possibly being related to crimes committed by Mr. Robert Bowers for the
murder of 11 Jewish individuals in case 2:18-cr-00292 (Western District of
Pennsylvania). On 01MAR2019 the documents filed in USCA case #19-10011
Fifth Circuit (Obaamacare Constitutional Case) were delivered by Express Mail
(Tracking #EE453480741US). The clerk’s office in New Orleans told Jeffrey
Cutler they DESTROYED THE DOCUMENTS. This is an example of REAL
OBSTRUCTION OF JUSTICE, unlike the alleged kind expressed by news
outlets throuhout the United States against the president of the United States.

On 07MAR2019 Jeffrey Cutler had it filed in PERSON in New Orleans fifth
Circuit. It stated that in the document that “The petitioner, Jeffrey Cutler,

acting pro se, respectfully identifies that Nancy Pelosi made a false statement in
court via her lawyer (Mr Donald B. Verilli Jr.) stated “[N]o one would be hurt and
the greater justice would be attained” and violated (18 USC § 1001) on
03JAN2019 on page 24 of the filing that was made in case 4:18-cv-00167-0, a
significant federal crime. During a speech at the National Association of Counties’

annual Legislative Conference on 9 March 2010, in Washington D.C.

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<ref>nhttps://www.youtube.com/watchév=QV7dDSgbaQ@o </ref> she stated “We

have to pass the bill to find out what is in it”. The petitioner “found out what was
in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case 1:13-cv-2066.
He also via lawyers hired had previously filed a Writ of Certiorari for the Supreme
Court of the United States (15-632) and inserted that same writ of of Certiorari in
United States Court of Appeals case 17-2709, page 314A. The individual mandate
of Obamacare violates the United States Constitution Ammend 1.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests that
this Court Declare Obamacare UNCONSTITUTIONAL, during an immediate
ENBANC review of this case.

Respectfully submitted,

Jeffrey Cutler, pro se

Also on May 13, 1985 the FBI furnished 2 bombs to the Democratic party that
were used to MURDER 5 BLACK children (ages 7-13). Watch
https://www.youtube.com/watch?v=mgCle8F_zUk for more information and read
comments sorted newest first. Also see

<ref> hitps://www.americantreedomiawcenter.org/case/jeffrey-cutler-v-u-s-dept-

of-health-human-services/</ref> and <ref> hitps://www.brennancenter.org/legal-

<ref> https://www.pacermonitor.com/public/case/27231978/CUTLER_v_PELOS|_et_al </ref>
Wikipedia (which should be identified as the Wikimedia foundation) has used

federal taxpayer money (to track and censor Mr. Cutler) and violate his civil rights

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with persons outside and in the United States, to try and conceal crimes against
individuals and property. On 16MAY2019 the story published in the
Philadelphia Daily News about Mr. Sims, failed to mention he is now part of
case number # 5:19-cv-00834. This is despite the parent organization is also part
of the same lawsuit, that had been legally served the papers, and additionally
has had a lawyer file motions in the case and the author of the article was
emailed a copy of the documents involved, and MALICIOUSLY failed to correct
the error. The president of the United States calls this FAKE NEWS!!
The courts have affirmed, it must “afford a liberal reading to a complaint filed by
a pro se plaintiff,” particularly when the plaintiff has no formal legal training or
education. Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also
Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document filed pro se is to be
liberally construed, and a pro se complaint, however inartfully pleaded, must be
held to less stringent standards than formal pleadings drafted by lawyers.”)
(internal quotations and citations omitted).
WHEREFORE, for all the foregoing reasons, and the documented murders
of 3 federal employees by Mr. Cutler (Jonnathan Luna, Beranton Whisenant,
and Justin Zemser) 5 children on May 13, 985 and significant
discrimination against other Jewish individuals (11 murdered by Robert
Bowers 2:18-cr-00292), (discrimination by police in Philadelphia polce

department against Jewish Police officers 2:18-cv-05029) , the
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books <ref> hitos:/Awww.amazon.corm/Love-Murder-Corruption-Lancaster-

“BLACK KLANSMAN”, newspapers and other agencies in pennsylvania
including the Philadelphia Department of Aging. Jeffrey Cutler,
respectfully requests that this Court order the defendendant to provide all
emails, phone records, text messages, etc. of all persons that were engaged
in trying to obstruct justice and harm Mr. Cutler and Mr. Krieger and
prosecute them to the full extent of the law and other remedies the court
deems appropiate. Philadelphia and other cities have documented posts on
facebook and other social media sites about trully racist comments which
were provided by Injustice Watch, a nonprofit news organization working on
a story about the Plain View Project. These individuals may be members of
the Klu Klux Klan, an organization which was outlawed by the United

States Government in 1871 and codefied as 42 U.S.C. § 1983.
httos/Awww inquirer.com/news/philacelphia-police-facebook-posts-racist-offensive-investiqation-

On June 6, 2019 the president gave a speech that mentioned a Mr. Lambert
and Omaha beach. Lisa Michelle Lambert has been unjustly incarceraed for
over 25 years after being raped by police and Seth Rich a Jewish Individual
from Omaha who died July 10, 2016 is mentioned on August 16, 2016 in
the filing in Philadelphia United States Court of Appeals for the Third

Circuit case 16-3164 by Jeffrey Cutler.

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Case 1:17-cv-01154-EGS Document 79 Filed 06/12/19 Page 9 of 12

Respectfully submitted,

DATE:_/D.Jyiv 20) {

 

 

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Jefirey Cutler, pro se
215-872-5715 (phone)

ellaxcollectorgqmai.com
P.O. Box 2806
York, PA 17405

 

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PLAINTIF’S PROPOSED ORDER FOR SUMMARY JUDGMENT

AND NOW, this day of , 2019 upon consideration Plaintif's Motion for Default

 

Judgment and for good cause shown, it is hereby ORDERED the Motionis GRANTED. SO

ORDERED.

[1]
[2]

[7]

Order all vandalism perpetuated against Mr. Krleger and Mr. Cutler to be compensated, and listed.

Order Courts to reveal all persons or individuals that have expressed interest in this case and all other linked
members in other counties, states, especially any officials of the Pennsylvania Government or the United States
Government, and all payments by any George Soros organizations.

Order the Democratic National Committee as well the Commonwealth of Pennsylvania to also show why they are
not a party to Religious discrimination, and in the Commonwealth of Pennsylvania.

Order all documents related to this matter be produced and listed.

Stay any other matters in this case until persons charged with the crimes are fully prosecuted.

Hold hearing under Oath about the Death of Jonathan Luna with, Robert Mueller, James Comey, Andrew

McCabe and April Brooks
Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with
established tenets or teachings of such sect or division of ANY religion in violation of the U.S.

Constitution amendment _1 and declare the ACA unconstitutional , and based on the 89 page writ of

Certiorari, USCA case 17-2709 on page 314A, and Supreme court case # 15-632.

Dated: , 2019

 

BY THE COURT

PAGE 10 of 95
Case 1:17-cv-01154-EGS Dac

  

ee Page 11 of 12

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Senator RICHARD BLUMENTHAL,
Representative JERRY NADLER, et al.
Plaintiffs

 

JEFFREY CUTLER
CASE NO. 1:17-ev-01154
Joiner Plaintiff

Vv.

Se ee ee a a a

DONALD J. TRUMP in his official }
capacity as President of United States of 3
America. )

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Defendant

 

CERTIFICATE OF SERVICE

 

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Ba desar, Clerk of Court
{Ue ourt, District of Columbia

   

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Cert 1:17-cv-01154 Page 1 of 2

CERTIFICATE OF SERVICE
I Jeffrey Cutler, do hereby certify that I as of this day I have correctly served a copy of,
Plaintiff's MOTION TO JOIN COMPLAINT dated 06/10/2019 to Defendants and Other
Plaintiffs via the cm/ecf system. | also certify that all parties of case # 1:17-cv-01154 are part

of the cm/ecf system.

Respectfully submitted,

WIL
nk Cort i, f fel
DATE: /O.fupJ COC Lh

latrey
effrey Cutler, pro se

215-872-5715 (phone)

eltaxcollector@gmail.com

P.O. Box 2806
York, PA 17405

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Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 1 of 85

ADDENDUM

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USCA Case #14-5183 Document #1567864 Filed: 08/14/2015 Page lof

United States Court of Appeals
FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 14-5183 September Term, 2014
FILED ON: AUGUST 14, 2015
JEFFREY CUTLER,
APPELLANT
Vv.

UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, ET AL.,
APPELLEES

Appeal from the United States District Court
for the District of Columbia
(No. 1:13-cv-02066)

 

Before: HENDERSON, ROGERS and MILLETT, Circuit Judges
JUDGMENT

This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

ORDERED and ADJUDGED that the judgment of the District Court appealed from in
this cause be reversed as to Cutler’s standing to press his Establishment Clause challenge, and be
affirmed both as to the merits of his Establishment Clause claim and his lack of standing to press
his equal protection challenge, in accordance with the opinion of the court filed herein this date.

Per Curiam

FOR THE COURT:
Mark J. Langer, Clerk

BY:  /s/
Ken Meadows
Deputy Clerk
Date: August 14, 2015

Opinion for the court filed by Circuit Judge Millett.
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Account Details

Jeffrey Cutler
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tution ofthe United
States. Sergeant
Tevring Cutler died
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leaving Libya. Irv
was awarded the
Silver Star and
Purple Heart. His
neplow Jeffrey
Mutler the Tax
Collector of East
Lampeter Townahip
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Messina, Sicily, July 14

 

 

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DATE 294UG2017
 

 

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Social Se curity Administration

Retirement;Survivors and Disability Insurance

Important Information
om Mid-Atlantic Program Service Center

300 Spring Garden Street

Philadelphia, Pennsylvania 19123-2992

Date: May 31, 2019

BNC#: 19T2082J96849-HA

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0027339 00088042 1 AB 0,412 O324MiT2R2PN 1247 P12
KENNETH M KRIEGER
7626 BROCKTON RD
PHILADELPHIA PA 19151-2826

1484-4 33-7537

We are writing to you about your Social Security benefits.
What You Should Know a

You no longer qualify for Social Security benefits beginning June 2019.
If You Disagree With The Decision

If you do not-agree with this decision, you have the right to appeal. We will |
review your case and look at any new facts you have. A person who did not
make the first decision will decide your:case. We will review the parts of the
decision that you think are wrong and correct any mistakes. We may also
review the parts of our decision that you think are right. We will make a
decision that may or may not be in your favor.

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@ You have 60 days to ask for an appeal in writing.

e The 60 days start the day after you receive this letter. We assume you ae
got this letter 5 days after the date on it unless you show us that you PM
id not get it within the 5-day period. :

e You must have a good reason if you wait more than 60 days to ask for
an appeal. ;

e You can file an appeal with any Social Security office. You must ask
for an appeal in writing. Please use our "Request for Reconsideration”
form, SSA-561. You may go to our website at
www.socialsecurity.gov/online/ to find the form SSA-561. You can also
contact us by phone, mail, or come into an office to request the form.
If you need help to fill out the form, we can help you by phone or in
person.

C See Next Page
Case 1:17-cv-01154-EGS Document 79-1. Filed 06/12/19 Page 5 of 85 Me,

19T2082J96849-HA Oa _ Page 2 of 2

If You Want Help With Your Appeal

~ You may choose to have a representative help you. We will work with this
person just as we would work with you.. If:you decide to have a_
representative, you should find one quickly ‘so ‘that:person can start preparing
your case.

 

Many representatives charge a fee only if you receive benefits. Others may
represent you for free. Usually, your representative may not charge a fee
unless we approve it. Your local Social Security office can give you a list of
groups that can help you find a representative.

If you get a representative, you or that person must notify us in writing. You
may use our Form SSA-1696 “Appointment of Representative.” Any local
Social Security office can give you this form.

Suspect Social Security Fraud?

Please visit http://oig.ssa.gov/r or call the Inspector General's Fraud Hotline
at 1-800-269-0271 (TTY 1-866-501-2101). _. peebge hte ey ae

If You Have Questions

We invite you to visit our website at www.socialsecurity.gov on the Internet
to find general information about Social Security. If you have any specific
uestions, you may call us toll-free at 1-800-772-1213, or call your local Social ©
ecurity office at 1-877-445-9977. We can answer most questions over the
phone. If you are deaf or hard of hearing, you may call our TTY number,
1-800-325-0778. You can also write or visit any Social Security office. The
office that serves your area is located at:

SOCIAL SECURITY __ ‘
4240 MARKET STREET
PHILADELPHIA, PA 19104

If you do call or visit an office, please have this letter with you. It will help
us answer your questions. Also, if you plan to visit an office, you may call
ahead to make an appointment. This will help us serve you more quickly
when you arrive at the office.
 

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY CUTLER
Plaintiff
v.

NANCY PELOSI IN HER OFFICIAL
CAPACITY AS SPEAKER OF THE
HOUSE OF REPRESENTATIVES
CITIZENS BANK,
FULTON BANK,
WIKIPEDIA FOUNDATION,
VERIZON CORPORATION,
GOOGLE CORPORATION,
ERIE INSURANCE,
STATE FARM INSURANCE,
LEMBERG LAW LLC,
FORD MOTOR COMPANY,

 

MANHEIM SCHOOL DISTRICT,
HAVERFORD POLICE
DEPARTMENT,
PHILADELPHIA NEWSPAPERS INC,
ASSOCIATED PRESS,

U.S. NEWS AND WORLD REPORTS,
BEND BULLETIN NEWSPAPER,

And
JOHN DOES and JANE DOES,

Defendants

 

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CASE NO. 5:19-cev-00834

JURY TRIAL DEMANDED

FILED

MAY 20 ong

By “TE BARA Clerk

AFFIDAVIT AND CERTIFICATE OF SERVICE

Cert 5 19-cv-00834 Page 1 of 2
 

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AFFIDAVIT AND CERTIFICATE OF SERVICE

I Jeffrey Cutler, do hereby certify that J as of this day I have caused correctly served a copy of
federal SUMMONS IN CIVIL ACTION dated 02/26/2019, Plaintiff's COMPLAINT dated
02/26/2019 and Plaintiff's MOTION TO CONSOLIDATE CASES dated 03/11/2019 to
Defendants as addressed and specified below via direct service with an individual over 18

years old. (Brian Sims Served ISMAY2019), (MICHAEL SHIRK Served 20MAY2019)

JOHN DOE SUMMONS JOHN DOE SUMMONS
IN HIS OFFICIAL CAPACITY HIGH COMPANIES

PA STATE REPRESENTATIVE MICHAEL SHIRK, CEO
Brian K. Simms 1853 William Penn Way
1015 Chestnut Street, Suite 1101 Lancaster, PA 17601
Philadelphia, PA 19107

  

Date: Zowny LOlF yp ob
ffyey Cutler, pro se
15-

72-5715 (phone)
eltaxcollector@gmail.com
P.O. Box 2806
York, PA 17405

Cert 5 19-cv-00834 Page 2 of 2
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GOZALEZ & REZNIK

 

Plaintiffs
KEN KRIEGER
CASE NO. 2:18-cv-05029

Joiner Plaintiff
Vv.
CITY OF PHILADELPHIA, et al. JURY TRIAL DEMANDED

Defendants

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MOTION TO JOIN CASE AND COMBINE CASES 2:19-cv-01001 as well
as case 2:19-CV-01540 (XXX, et al. v. PHILADELPHIA PARKING
AUTHORITY, et al.)

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Cased:27-6n0LISP EGS Dooumenb7e4/ FilediOes1as1e) Rage:920f857

Here comes Kenneth Krieger, acting pro se, respectfully motions to join this

case against ALL defendants as of 2LMAY2019. All defendants have willfully
and deliberately conspired to retaliate against Mr. Krieger to continually

harrass him for being Jewish. Mr. Krieger a former Philadelphia Police Officer
wounded 3 times by gun fire while an officer, resigned because of PTSD this
caused. He gets no pension from Philadelphia, and no other compensation other
than the minor award he was awared as the subject of civil federal lawsuit called
KRIEGER v. PHILADELPHIA, et al. number 2:01-cv-02373. As the victorious
party in this lawsuit he has experienced significant unexplained monitoring and
intrusion including theft of his wallet, cell phone problems due to properties
enabled by Google LLC in conjunction with members of the DEEP STATE and
the FBI, his vehicle towed twice and presently held for ransome by the
Philadelphia Parking authority, based on unverified parking tickets. It has been

published that the new payroll system is defective <ref> https:/www. philly.com/news/one-
philly-lawsuit-labor-unions-philadelphia-city-hall-payroli-paycheck-20190502. htm! </ref>. Based on

meeting Mr. Jeffrey Cutler, Mr. Krieger has realized he may be a target of the Klu
Klux Klan, as well as other elected officials who may be working with the KLAN
or related organization. Mr. Cutler was removed from an elected office based on
perjured testimony, had a bank account robbed (18 USC § 2113) of about one
million dollars, his mail stolen, 100% of his life long possesions stolen by Police of
East Lampeter Township he believed to be members of the Klu Klux Klan. East

Lampeter Township had previously been accused of fabricating evidence in the

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Casest 2716691054766 Svi Documentefa-17 Filed O6Al2(V99 Paged@ of 85

trial of Lisa Michelle Lambert when federal Judge Stewart Dalzell released her
from prison. Mr. Cutler identified willful faults in the new real estate tax system
used by Lancaster County and persons that may be responsible for being

secrectly members of the Klu Klux Klan. The system used to peddle Obamacare
by the federal government had significant flaws. Based on Mr. Krieger being
asked to serve papers (the federal Summons) to Representative Brian Simms (in
his Philadelphia office at 1015 Chestnut Street) for case 5:19-cv-00834 on
ISMAY2019 in his official capacity as an elected representative of the
Commonwealth of Pennsylvania, he has also realized that persons in the
Commonwealth of Pennsylvania have violated Amendment 1 of the United States
Constitution, and are PROUD of it by posting an 8 minute video documenting the
event. Mr. Cutler stated these activities were in furtherance of a federal crimes of
bank robbery (18 USC § 2113) and perjury (18 USC § 1001). On March 1, 2019 it
was also discovered, by Mr. Cutler while helpng Mr. Krieger get his car the first
time that East Lampeter Township, in Conjunction with High Inc. conspired
together to destroy additional evidence of a Hate Crime that was identified to the
FBI as possibly being related to crimes committed by Mr. Robert Bowers for the
murder of 11 Jewish individuals in case 2:18-cr-00292 (Western District of
Pennsylvania). On 01MAR2019 the documents filed in USCA case #19-10011
Fifth Circuit (Obaamacare Constitutional Case) were delivered by Express Mail

(Tracking #EE453480741US). The clerk’s office in New Orleans told Jeffrey

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Casest 27+év.0105426GS. Documente?Q-17 Filed 0620199 Paged.4 of 85

Cutler they DESTROYED THE DOCUMENTS. This is an example of REAL
OBSTRUCTION OF JUSTICE, unlike the alleged kind expressed by news
outlets throuhout the United States against the president of the United States.

On O7MAR2019 Jeffrey Cutler had it filed in PERSON in New Orleans fifth
Circuit. It stated that in the document that “The petitioner, Jeffrey Cutler,

acting pro se, respectfully identifies that Nancy Pelosi made a false statement in
court via her lawyer (Mr Donald B. Verilli Jr.) stated “[N]o one would be hurt and
the greater justice would be attained” and violated (18 USC § 1001) on
03JAN2019 on page 24 of the filing that was made in case 4:18-cv-00167-0, a
significant federal crime. During a speech at the National Association of Counties’
annual Legislative Conference on 9 March 2010, in Washington D.C.
<ref>nhttps:/www. youtube.com/watch?v=QV7dDSgbaao </ref> she stated “We

have to pass the bill to find out what is in it”. The petitioner “found out what was
in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case 1:13-cv-2066.
He also via lawyers hired had previously filed a Writ of Certiorari for the Supreme
Court of the United States (15-632) and inserted that same writ in United States
Court of Appeals case 17-2709, page 314A. The individual mandate of Obamacare
violates the United States Constitution Ammend 1.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests that
this Court Declare Obamacare UNCONSTITUTIONAL, during an immediate

ENBANC review of this case.

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Cases £71cv-01054-2GSvi Documents9-17 Filed O64/2/19 9 Page 2 of 8

Respectfully submitted,

Jeffrey Cutler, pro se

Also on May 13, 1985 the FBI furnished 2 bombs to the Democratic party that
were used to MURDER 5 BLACK children (ages 7-13). Watch
https://www.youtube.com/watch?v=mgCle8F_zUk for more information and read
comments sorted newest first. Also see

<ref> https://Avww.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-

of-health-human-services/</ref> and <ref> https:/Avww.brennancenter.org/legal-work/corman-v-
torres</ref>

<ref> https://www.pacermonitor,com/public/case/27231978/CUTLER_v_PELOSI_et_al </ref>
Wikipedia (which should be identified as the Wikimedia foundation) has used
federal taxpayer money (to track and censor Mr. Cutler) and violate his civil rights
with persons outside and in the United States, to try and conceal crimes against
individuals and property. On I6MAY2019 the story published in the
Philadelphia Daily News about Mr. Simms, failed to mention he is now part of
case number # 5:19-cv-00834. This is despite the parent organization is also part
of the same lawsuit, that had been legally served the papers, and additionally

has had a lawyer file motions in the case and the author of the article was

emailed a copy of the documents involved, and MALICIOUSLY failed to correct
the error. The president of the United States calls this FAKE NEWS!!

The courts have affirmed, it must “afford a liberal reading to a complaint filed by

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CaSesk 171cv-0105422GS vl iDocumeniag-17 Fited 06/2119 9 Page d 3 of 85

a pro se plaintiff,” particularly when the plaintiff has no formal legal training or
education. Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also
Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document filed pro se is to be
liberally construed, and a pro se complaint, however inartfully pleaded, must be
held to less stringent standards than formal pleadings drafted by lawyers.”)
(internal quotations and citations omitted).
WHEREFORE, for all the foregoing reasons, and the documented murders
of 3 federal employees by Mr. Cutler (Jonnathan Luna, Beranton Whisenant,
and Justin Zemser) 5 children on May 13,]985 and significant
discrimination against other Jewish individuals (11 murdered by Robert
Bowers 2:18-cr-00292), (discrimination by police in Philadelphia polce
department against Jewish Police officers 2:18-cv-05029) this case, the

books <ref> https: /Awww.amazon.com/Love-Murder-Corruption-Lancaster-
County/dp/1933822880 </ref>,

“BLACK KLANSMAN?” , newspapers and other agencies in pennsylvania
including the Philadelphia Department of Aging, Ken Kreiger,
respectfully requests that this Court grant the default and summary
judgement as apropriate against all defendendants in favor of all

plaintiffs.

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Casesk £716v4010546-BG Sv Documenteta-17 Filed O6A2(199 Paged4 of a5

Respectfully submitted,

DATE: 22 May ‘Laly hon [Grin

Ken Kriég r, pro se
484-4337/539 (phone)

kenkrieger@aol.com
7626 Brockton Road

Philadelphia, PA 19151

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CaSesh 171cv:01054-BGSvi Documents#9-17 Filed M6H/2119 9 Paged & of 85

PLAINTIF’S PROPOSED ORDER FOR SUMMARY JUDGMENT

AND NOW, this day of , 2019 upon consideration Plaintifs Motion for Default

 

Judgment and for good cause shown, itis hereby ORDERED the Motion is GRANTED. SO

ORDERED.

[1]

[2]

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Order the SUMMARY Judgment against all defendants be granted and made FINAL at ten thousand dollars per
day or as other neotiated amount.

Order all vandalism perpetuated against Mr. Krleger to be compensated, and listed.

Order Philadelphia to reveal all persons or individuals that have expressed interest in this case and all other
linked mmebers in other counties, states, especially any officials of ihe Pennsylvania Government or the United
States Government, and all payments by any George Soros organizations.

Order the Democratic National Committee as well the Commonwealth of Pennsylvania to also show why they are
not a party to Religious discrimination, and the Commonwealth of Pennsylvania.

Order Mr. Krieger's Vehicle be retrned and all FINES be exponged plus $ 100,000.60

Order the United States Government to stop collecting or accessing penalties FOR FAILURE to comply with
established tenets or teachings of such sect or division of ANY religion in violation of the U.S.
Constitution amendment 4 and declare the ACA unconstitutional , and based on the 89 page writ of USCA

case 17-2709 on page 314A, and Supreme court case # 15-632.

Dated: , 2019

 

BY THE COURT

PAGE 8 of 44
Cases 1716401054-EGS\Vi Documemnd9-17 FilddO6/2/199 Page d © of 85

ADDENDUM

PAGE 9 of 44
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In The
nited States Court of Appeals

for the Whird Circuit

18-3693

JEFFREY CUTLER
Appellant

v.

ALAN SCHNITZER; EDWARD MCVEY; RICHARD S. MILLS; KIANDRA
BAIR; SAM JANESH; DENNIS STUCKEY; BRIAN HURTER; MARK
DALTON; DAVID BUCK WALTER; MIKE SHIRK; JUDGE DENISE
CUMMINS; DAVID ZUILKOSKI
Appellees

Appeal from the Order/Judgment entered Nov 14, 2018 in the United States Dishict
Court for the Eastern District of Pennsylvania at No, 5-17-cv-05025

REPLY BRIEF FOR MOTION IN OPPOSITION
And
HEARING ENBANC

 

ORAL ARGUMENTS REUESTED

PAGE 1 of 15
Cased: 7-6 0DESYEGSiDooumenbresy Filedio6/12420) Page:1Qafi857
Case: 18-3693 Document: 003113129503 Page:2 Date Filed: 01/09/2019

The petitioner, Jeffrey Cutler, acting pro se, respectfully requests this appeal be
consolidated with the appeal for case 4:18-cv-00167-0 (UNITED STATES OF
AMERICA, etal., v. CALIFORNIA, et al. from the NORTHERN DISTRICT OF
TEXAS). This case is exposes on onging criminal eneterprise that has minimally
existed in Lancaster Pennsylvania since December 20, 1991, when Lisa Michelle
Lambert was framed for a crime she knew nothing about and subsequently cleared
of the crime based on false testimony and bribes during a federal habeas corpus
hearing by District Judge Stewart Dalzell .It has also minimally existed in
Pennsylvania since May 13, 1985 when the FBI furnished 2 bombs to murder 5
children (ages 7-13) in Philadelphia, as a form of eviction for which not a single
charge was filed or civil or criminal penalty paid by those that perpatrated the
crime. As an engineer, sometimes a probem is examined starting from the

conclusion and work towards the crime conception. In Philadelphia, a third party

killed a child 84 months old, almost all people would call that MURDER. If the

child had been only 83 months old, almost all people would still call that
MURDER. If the child had been only 82 months old, almost all people would
still call that MURDER. If the child had been only 81 months old, almost all
people would still call that MURDER. If the child had been only 80 months old,
almost all people would still call that MURDER. If the child had been only 79
months old, almost all people would still call that MURDER. At some point

going towards conception, MURDER is called ABORTION.
PAGE 2 of 15
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Case: 18-3693 Document: 003113129503 Page:3 Date Filed: 01/09/2019

In boolean mathamatics there are really 3 answers, TRUE, FALSE,

and DON’T CARE that should be applied when considered against the question
of killing a child if it is MURDER. Not only has perjured testimony been used
against Mr. Cutler, he has been targeted for false and maliious prosecution since he
filed case 1:13-cv-2066 December 31, 2013 (which was about the individual
Mandate). The case of perjury as either 18 U.S. Code § 1001, or 18 U.S. Cade §
1623 are federal laws. GOD’S LAW for he who bears false witness against his
neighbor commits as grave a sin as if he had bome false witness against God,
Getting someone by blackmail, bribe, or threat of death to make claims as a false

Witness is a DEMONCRAT LAW, they were called Sonderkommandos during

WWII. Presently in the United States the DEMONCRAT and DEMOCRAT
have “N” difference between them.

This case has been about religious freedom and insurance companies

and the democratic party trying preserve OBAMACARE regardles of the harm it
has inflicted and censor all dissent to maximize profits of insurance companies. As
of this date 2 states have re-enacted mandates for health insurance (Vermont and
New Jersey) with little or no large debate, even though federal law removed that
requirement. It is now reported that billionaires (Reid Hoffman) have used

campaigns via the news media to target individuals (Judge Roy Moore for example
<ref> httos://www.washingtonnost. com business technolo .

L1e9-8186-4ec26a485713 story.himl@uim_term=,d9¢380b8d5aé </ref>) to falsley accuse

people of crimes they were did not commit. People have been sent to jail and co-

   
 

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Casest: 27L6vc01054268 GS Dobumemtec7O-Il/ FileecOGA120199 Pagec2140fBS7
Case: 18-3693 Document: 003113129503 Page:4 Date Filed: 01/09/2019

erced to make false statements made based on illegal searches or surveilence to
conceal crimes of police, FBI and elected and non-elected individuals. James
Commey (former director of the FBI) is on public record as authorizing
surveilence of individuals based on a document he knew to be false and un-verified
to secure the appointment of a special prosecuter (Robert Mueller), to help conceal
other crimes. Based on the long established doctrine in law, the Fruit of
the poisonous tree based on Silverthorne Lumber Co. v. United States, 251 U.S.
385 (1920), and Nardone v. United States (1939). This case is actually about
preserving the United States Constitution and the laws that congress have legally
passed. Per Fed. R. App. P. 35(b) and 40(a), In support of this petition, petitioner
represents the following: United States v. Foster, 1988; United States v. LaPage,
2000 violations of due process, 18 U.S. Code § 1623 - False declarations before
grand jury or court and Giglio v. United States. It also preserves 18 U.S. Code §
1001, is a crime as well as 18 USC § 2113. This case examines that

In an expressed belief, based on a reasoned and professional judgment,
that the opinion of case case 4:18-cv-00167-0 (attached as Addendum in the
previous filing) should be supported by the 89 page writ (15-632) as part of case
17-2709 page 314A support the ruling and opinion. and supported by Supreme
Court’s decision in United States v. Rita, __ US. __, 127 S. Ct. 2456 (2007), as

well as the Sixth Amendment principles set out in Cunningham v. California, _

PAGE 4 of 15
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Case: 18-3693 Document: 003113129503 Page:5 Date Filed: 01/09/2019

US. __, 127 S. Ct. 856 (2007), United States v. Booker, 543 U.S. 220 (2005),
Blakely v. Washington, 542 U.S. 296 (2004), and Apprendi v. New Jersey, 530 US.
466 (2000), and consideration by the full Court is therefore necessary. In addition,
I express a belief, based on a reasoned and professional judgment, that a full

panel opinion involves a question of exceptional importance:

Based on Rule 201. Judicial Notice of Adjudicative Facts Per public notice <ref>

https://lancasteronline.com/news/local/lancaster-county-treasurer-without-insurance-for-millions-in-tax-
dollars/article_efSb90bc-89d5-1 1e8-8ace-777 | 2e72 1 cha.html </ref>

<ref> http://www. philly.com/business/tax-collector-jeffrey-cutler-cast-lampeter-pa-lancaster-county-
20181211 html </ref> The story as printed on December 12, 2038 has ERRORS that should be
corrected. The word "CISTRICT’ should be "DISTRICT' , the word “evicted” should be "ILLEGALLY
EVICTED". The accounting errors were FULTON BANK RELATED, and FULTON BANK is NOW BEING
USED 100% by Amber Green Martin and Amber Green Martin was never legally allowed to
collect taxes until July 18, 2018 when she got a SURETY BOND.

at no time until July 18, 2018 Amber Green never was legally allowed

to be assigned the collection of taxes because she failed to have a surety bond that
allowed her to collect taxes. In the printed copy of the story in the Philadlphia
Inquirer December 12, 2018 page 1 Amber Green Martin is quoted that Mr. Cutler
never misappropriated any money and that she was involved in election fraud just
like the case against Kenneth Smukler (2:17-cr-00563). These fact were known by
all parties except Mr. Cutler and the entire case is based on 100% perjury from it’s
conception and was intended to punish Mr. Cutler for daring to challenge the
Affordabie Care Act and destroy his life and reputation by the Democratic party
(which Mr. Mills specified in a conversation to Mr. Cutler that Mr. Mills was paid

over $ 200,000.00 by the democratic party and assumed recorded) and insurance

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Case: 18-3693 Document: 003113129503 Page:6 Date Filed: 01/09/2019

companies that significantly benifit from the ACA. Based on a
demonstrated example of perjury in these lawsuits to also alter the voting.map of
Pennsylvania. Based on Napue v. Illinois this should demand a full enbanc review.
As the courts recently affirmed, it must “afford a liberal reading toa
complaint filed by a pro se plaintiff,” particularly when the plaintiff has no formal
legal training or education. Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C.
Cir. 2014); see also Erickson v. Pardus, 551 U.S, 89, 94 (2007) (“A document filed
pro se is to be liberally construed, and a pro se complaint, however inartfully
pleaded, must be held to less stringent standards than formal pleadings drafted by
lawyers.”)
WHEREFORE, for all the foregoing reasons, petitioner respectfully

requests that this Court grant the instant Petition for hearing En Banc and
it should be considered with USCA case 17-2709 USCA case 18-1816 and the
conclusions requested in those cases be enacted. Judge Maryanne Trump Barry and
Judge Midge Rendell should recuse themselves from this case because of conflict
of interests and relationships to persons possibly involved.

a. The court failed to disqualify the documents from the opposing parties

for non-compliance in case 18-1816 and the entire case is based on
perjured testimony bassed on the press release of October 3, 2018 by

the League of Women Voters. <ref> htts://www.lwv.ora/newsrooni/press-
teleases/leqque-ceo-arrested-kavanaugh-protest <fref>

b, East Lampeter Township assigned Tax Collection to the Lancaster
County Treasurer on Feb 23, 2017, even though they knew she never
had a surety bond and was collecting taxes illegally.

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Case: 18-3693 Document: 003113129503 Page:7 Date Filed: 01/09/2019

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. They robbed 2 Fulton Bank (18 USC § 2113) accounts of Jeffrey

Cutler on April 3, 2017 based on a note written by Judge Margaret
Miller on March 17, 2017.

A vice president of Marketing at Fulton Bank (Mark Katkovcin)
executed the bank robbery, and committed an act of Mail Fraud on
Sep 20, 2018 # C1884921,

Persons within the courts assisted with these criminal acts.

The civil rights of Brett Kavanaugh, William Henry Cosby and the
president of the United States have been equally violated by paid
protesters.

The professional opinion of Jeffrey Cutler is based on being a
sequestered juror on the first trial of UNITED STATES of America v.
John H. NACRELLI. Crim. No. 78-65-.1 and an engineer with a
degree from Drexel University. At no time do I recall seeing Judge

Steven O’Neill at Drexel or handing out fliers about Klu Klux Klan
meetings.

It is clear that equal protection has been violated in state and federal
level (United Staes Constitution, Amend 14 and United Staes
Constitutiona, Amend 5) in order to coneal crimes perpetrated by
other public officials and destroyed the reputation of not only myself
but General Michael Flynn based on perjury. Lisa Michelle Lambert
has been incarcerated for over 25 years to conceal crimes committed
by others and even the existence the office of special prosecuter was
based on known perjured and unverified information. Based on case
1:18-cv-02885 (Jerome Corsi v. Mueller et al.) They have also
suborned perjury to try and target individuals, Recentlly Elmer
Daniels was released after being incarcerated for 39 years based on
faulty science of the FBI.

The Defendant-Appellees through their K3 lawyer (Kane, Pugh,
Knoell, Troy, & Kramer) have provided no nexus that the proposed
solution is not legal and in the name of Judicial Efficiency cited in
case 17-2709 the current government partial shutdown an immediate
Enbanc review is warranted. They also appear to have failed to notify
all parties in the case, and should show evidence they sent copies of

PAGE 7 of 15
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their motions to Sam Janesh, JUDGE DENISE CUMMINS before
their briefs should be considered.

J. Itis possible to destroy evidence, but the truth cannot be destroyed.
WHEREFORE, for all the foregoing reasons, petitioner respectfully

requests that this Court grant the instant Petition for Panel hearing En Banc and
support the conclusions as specified in case USCA CASE 17-2709, USCA
CASE 18-1816 and also reverse the illegal actions based of Robert Mueller
appointment as special prosecuter and all subsequent actions that appointment
have since followed. Judge Maryanne Trump Barry and Judge Midge
Rendell should recuse themselves from this case because of conflict of interests

and relationships to persons possibly involved.

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Case: 18-3693 Document: 003113129503 Page:9 Date Filed: 01/09/2019

Respectfully submitted,

DATE:_O LJAn 2°! MA

ar
j Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@qmail.com
P.O. Box 2806

York, PA 17405

  

 

CERTIFICATE OF SERVICE

I hereby certify that on January 09, 2019, I filed
the foregoing with the Clerk of the Court for the
United States Court of Appeals for the Third
Circuit. Participants in the case who are registered
CM/ECF users will be served by the appellate
CM/ECF system. I further certify that all of the
other participants or their lawyers in this case are
registered CM/ECF users, except Sam Janesh,
JUDGE DENISE CUMMINS who are served via

“Uy “ee prepaid.
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PAGE 9 of 15
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Case: 18-3693 Document: 003113129503 Page:10 Date Filed: 01/09/2019

CERTIFICATION OF COMPLIANCE

This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2)
and Circuit Rule 40-1 because this brief contains no more than 15 pages,
excluding the parts of the brief exempted by Fed. R. AP. P. 32.

Respectfully submitted,

DATE:__ (26.1 4uzor 4 // li JA Lo

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ADDENDUM

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HOME » NEWSROOM » PRESS RELEASES : LEAGUE CEO ARRESTED aT KAVANAUGH PROTEST

League CEO Arrested at
Kavanaugh Protest

10/5/2018

Washington OC - Thursday, the League of Women Voters' CEO Virginia Kase participated in
the civil disobedience to protest Judge Kavanaugh and was armong the activists arrested at
the Capitol.

 

“Opposing a Supreme Court nominee was an extraordinary step for the League, and our
leadership believed that we needed to back those words with action. This situation is too
important to sit silently while the independence of our judiclary ts threatened” sald Kase, who
was hired as CEO in July. “I may be new to the League, but this organization was founded by
the women who fought for women’s suffrage. They marched in the streets, disrupted

the status quo, and, yes, faced arrest and punishment to advance their cause. We honor their
legacy by participating tn our democracy through this civil disobedience”

Last week the board of directors took bold steps for the organization in calling for a complete
FBI investigation into alf allegations of sexual misconduct and Thursday they went a step
farther in officially urging the Senate to reject Judge Kavanaugh's nomination.

“The process of the Kavanaugh hearings is unlike anything we have seen in the League's 98
years, sald Chris Carson, president of the League. “This nominee has demonstrated that he
does not possess fair and unbiased judicial temperament. | am proud of Virginia and our
members across the country who are standing with her”

On Thursday the League went a step farther by participating in the protests,

“t want to take the fear out of activism? said Kase. “This is our Capitol. These are our Senators,
This is our government. It is an honor to participate in our democracy and to live our mission:
Empowering Voters. Defending democracy"

“This is a critical moment for American women’ said Carson. “This year we have seen more
women running for office than ever before. With midterms a few weeks away, this is the right
time and the right moment to take a stand?’

Contact: Sarah Courtney | 202-263-1332 | scourtney@lwv.org
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COMMONWEALTH OF PENNSYLVANIA
OFFICE OF ATTORNEY GENERAL

December 28, 2018

Office of Attorney General

Civil Rights Enforcement Section
14th Floor, Strawberry Square
Harrisburg, Pennsylvania 17120
Phone: 717-787-0822

Fax: 717-787-1190

Jeffrey Cutler
2689 Old Philadelphia Pike
Bird in Hand, PA 17505

Re: Mr. Jeffrey Cutler v. East Lampeter Township, Mr. Ralph Hutchinson and Lancaster
County Courts

Dear Mr. Cutler:

This letter is in response to your correspondence/complaint received in the Office of
Attorney General (OAG), Civil Rights Enforcement Section (CRES) December 01, 2018. After
reviewing your correspondence, it appears that the CRES does not have the jurisdiction to assist
you in this matter because the matters you allege do not meet the legal or operative provisions

that would implicate our jurisdiction. Therefore, the OAG is without legal authority to take
action.

The jurisdiction of the OAG is limited to investigation of those matters which are
authorized by the Commonwealth Attorneys Act, the Pennsylvania Human Relations Act (PHRA)
and the Pennsylvania Civil Redress Statute, Pursuant to the Commonwealth Attomeys Act, the
jurisdiction of the OAG is limited to matters involving state employment, organized crime,
narcotics or matters arising out of statewide grand jury investigations. Under the Pennsylvania
Human Relations Act, the jurisdiction of the CRES is restricted to complaints of discrimination in
employment; housing and public accommodations on the basis of race, color, religion, national
origin, age, sex, disability; general education development certificate (GED); and familial status.
Pursuant to the Pennsylvania Civil Redress Statute, under certain circumstances the CRES may
initiate civil actions to prevent hate crimes and related activity. Under all of these laws, the
authority of the CRES is limited to situations in which there exists a pattern or practice of

conduct, or substantial portions of the population may be affected.

To pursue this you must consult and obtain private counsel. Should you wish to consult
with legal counsel and do not have an attomey, you may contact your local county Lawyer Referral
Service. Should you be unable to afford legal counsel and you meet certain financial guidelines,
you may be eligible to receive free legal advice through your county Legal Services Office. Contact
infomation for these services should be available in the human services pages of your local
telephone directory.
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| In The .
Guitey States Court of Appeals

for the ith Cirenit

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JEFFREY CUTLER
Tntervenor Paintiff-Appellee

STATE OF TEXAS, et al.
Paintiff-A ppellees

 

Vv.

UNITED STATES OF AMERICA, et al.
Defendants-Appellants

STATE OF CALIFORNIA, et al.
Intervenor Defendants-Appellants

NANCY PELOSI
Intervenor Deferidants-Appellant

Appeal from the Order/ Judgment entéred Dec 14, 2018 in the United States District
Court for the Northern Dishict of Texas at No. 4:18--cv-00167-0

RESPONSE TO.NANCY.PELOSI’S PETITION OF 033 4iz019
ORAL ARGUMENTS REQUESTED

PAGE 1 of 24

 
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CASES BAGGED S Dp aRAMET eH Filed Ooate Page 25 af 30

The petitioner, Jeffrey Cutler, acting pro se, respectfully identifies that Nancy
Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli Jr.)
stated “[Njo one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime, During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref>https:/Avww.youtube.com/watch?v=OV7dDS ebaQ0 <fref>
she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in

United States Court of Appeals case 17-2709, page 314A, The individual mandate
of Obamacare violates the United States Constitution Ammend 1.

WHEREFORE, for all the foregoing reasons, petitioner respectfully
requests that this Court Declare Obamacare UNCONSTITUTIONAL, during an
immediate ENBANC review of this case.

Respectfully submitted,

DATE: _28F620/4 Y JLh-
/ sell Cutler, pro se

215-872-5715 (phone)

gliaxcollector@gmai.com
P.O, Box 2806
York, PA 17405

 

PAGE 2 of 24
CASEI ERO VISAS BE SY D qh ueeTO 1 Hileelc0GA120199 Pages8HiB37

> Filed 04/25/19 Page 26 of 30

CERTIFICATE OF SERVICE

[hereby certify that on March 01, 2019, I filed
the foregoing with the Clerk of the Court for the
United States Court of Appeals for the Fifth
Circuit via next day United States Mail,
Participants in the case who are registered
CM/ECF users will be served by the appellate
CM/ECF system. J further certify that all of the
other participants or their lawyers in this case are
registered CM/ECF

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CERTIFICATION OF COMPLIANCE

This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2)
and Circuit Rule 40-1 because-this brief contains no more than 15 pages,
excluding the parts of the brief exempted by Fed. R. AP. P, 32.

DATE: _Z2¢ 4¢ (t0/ 4

Respectfully submitted,

/ J éffrey Cutler, pro se
“215-872-5715 (phone)
gliaxcollector@gmail.com
P.O. Box 2806

York, PA 17405

PAGE 3 of 24
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Case 5:19-cv-00834-JLS Decumenti Filed 02/26/19 Page 19 of 20

UNITED States POSTAL INSPECTION SERVICE

CRIMINAL INVESTIGATIONS SERVICE CENTER

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Dear Postal Customer. ‘

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Thank-you for the information You provided this office régarding:

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CITIZENS BANK

1 CITIZENS BANK WAY
JOHNSTON RI 02949-1929

A review of this matter indicates that your complaint would be best handled by:

INSPECTOR IN CHARGE
USPIS BOSTON DHQ

495 SUMMER ST SUITE 606
BOSTON MA 02210-2144

Please be advised that your complaint has been forwarded to the address above

for whatever action they deem appropriate, Any future concerns relating to this
matter should be directed to the address shown above,

Sincerely,

MANAGER
CRIMINAL INVESTIGATIONS SERVICE CENTER

433 W HARRISON STREET ROOM 3265
CHICAGO IL 80608-3265

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY CUTLER

CASE NO. 5:19-cv-00834
Plaintiff

Vv,

NANCY PELOSI IN HER OFFICIAL
CAPACITY AS SPEAKER OF THE
HOUSE OF REPRESENTATIVES
CITIZENS BANK,
FULTON BANK,
WIKIPEDIA FOUNDATION,
VERIZON CORPORATION,
GOOGLE CORPORATION,
ERIE INSURANCE,
STATE FARM INSURANCE,
LEMBERG LAW LLC,

FORD MOTOR COMPANY,
MANHEFIM SCHOOL DISTRICT
HAVERFORD POLICE
DEPARTMENT,
PHILADELPHIA NEWSPAPERS INC,
ASSOCIATED PRESS,

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JURY TRIAL DEMANDED

APR n° 2959

And
JOHN DOES and JANE DOES,

Defendants

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MOTION TO CONSOLIDATE CASES
WITH CASE # 146 MAD 2019

PAGE | of 10
 

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Here comes Jeffrey Cutler, acting pro se, respectfully makes a motion to
Consolidate case number 146 MD 2019 (filed 03MAR2019) in the
Commonwealth Court of Pennsylvania with this case. Since case #1: 19-cv-00189
is from the Middle District of Pennsylvania was previously requested to be
designated as thé lead case, and actually would be a change in venue from State

Court to federal Court. This motion should be granted to promote judicial

efficiency, the same defendents and they all contain similar civil rights violations

by government entities. violations of EQUAL PROTECTION under the United
States Constitution Ammend 14, Ammend 5 and Ammend 1.

All parties in this case have been engaed in a long term CRIMINAL
ENTERPRISE to deprive individuals of their civil rights under the

law, based on race and religion, and violating federal laws since at minimum
20DEC1991 (18 USC § 1001, 18 USC § 2113, 18 U.S.C. § 1343. 42 U.S.C. §

1983) to conceal these and other crimes and a federal jury should help determine

the outcome of the proceedings.

WHEREFORE, for all the foregoing reasons, Jeffrey Cutler respectfully

requests that this Court grant the consolidation of cases and change of venue.

PAGE 2 of 10
 

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Respectfully submitted, fo
DATE: _€ 2. APR 26/9 l, f Vhok.

 

 

 

/ J ‘ ethey Cutler, pro se
215-872-5715 (phone)

elfaxcoller:tex ama. ODI
P.O. Box 2806
York, PA 17405

PAGE 3 of 10
 
  

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ADDENDUM

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IN THE COMMONWEALTH COURT OF PENNSYLVANIA

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(RAIG STEDMAN, IN HIS OFFICIAL CAPACITY ;
AS LANCASTER COUNTY DISTRICT ATTORNEY, :

Potitionar, : No, ___ MD 2019
v. :

COMMISSIONERS; DENNIS STUCKEY, IN His
Or FICIAL CAPACITY AS VICE-CHAIRMAN OF
THE LANCASTER COUNTY BOARD OF
COMMISSIONERS, CRAIG LEHMAN, IN HIS
OFFICIAL CAPACITY AS LANCASTER COUNTY
COMMISSIONER,

Respondents,

JOSHUA SHAPIRO, IN His OFFICIAL CAPACITY :
AS PENNSYLVANIA ATTORNEY GENERAL: and
BRIAN HURTER, IN HIS OFFICIAL CAPACITY 4S
LANCASTER COUNTY CONTROLLER, :

Nominal/Non-adverse Respondents,

 

 

NOTICE To PLEAD
To: LANCASTER COUNTY BOARD OF COMMISSIONERS

JOSHUA PARSONS, IN HIS OFFICIAL CAPACITY AS CHAIRMAN
OF THE LANCASTER COUNTY BOARD OF COMMISSIONN

DENNIS STUCKEY, IN HIS OFFICIAL, CAPACITY AS VICE-
CHAIRMAN OF THE LANCASTER COUNTY BOARD OF
COMMISSIONERS

CRAIG LEHMAN, IN HIS OFFICIAL CAPACITY AS LANCASTER
COUNTY COMMISSIONER

JOSHUA SHAPIRO, IN HIS OFFICIAL CAPACITY AS
PENNSYLVANIA ATTORNEY GENERAL,

BRIAN HURTER, IN HIS OFFICIAL CAPACITY AS LANCASTER
COUNTY CONTROLLER

You are hereby notified to file a written response to the enclosed
hetition for review within thirty (90) days fiom service hereof or a
judgement may be entered agsinat you. ;

Dated: March 13, 2019

 

Mark E. Sciberling (No. 91256)
1717 Arch Street, 5 Floor
Philadelphia, PA 19102

Ph: (218) 568-2000

Fax: (215) 668-0140

Eul: meeiberling@kleinbard.com

Aifsorney for District Atiormney Craig
Tan.
 

 

 
  
   
 

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IN'THE COURT OF COMMON PLEAS OF LANCASTER COUNTY. PENNSY}YANIA
' CIVIL ACTION-LAW

iL 239
COUNTY OF LANCASTER, : S mF
Lo : O8 .
, Plaintiff W7-O1164 ae os
; “O
Docket No.: . Bo =
JEFFREY CUTLER and TRAVELERS a o a
CASUALTY AND SURBTY COMPANY i S &
OF AMERICA

  

 

    
    
 

The undersigned, Dennis P. Stuckey, Chairn
Commissioners, in ancordence with the provisions of tha kage Collection Law, 72 PS, §
5511.41, does hereby certify the amount dus and owing to disceupe by Jeffrey Cutler, Tax
Collector, and Travelers Casualty and Sorety Company of Ametisa/for tax years 2014 and 2015,
including interest at a-rate of six petcent (6%) per tiinum, to be the amount of Porty Thousand
and Four Hundred and Eleven Dollats and Sixty-Rour Gents ($40,411.84), plus interest at the -

ster County Board of

 
          
    
  
 

 

legal rate from Janviary 1, 2017 until date of id Certification is based upon the
failure of Jeffrey Cutler, Tax Collector, to male ting sion of taxes in accordance with
the attached calculations mads by the Lancaster Des MFC ortroller.

The County does hereby cextify the sare to the Soa of Lancaster County to

cuter judgment on the dockets of her office,

LANCASTER COUNTY
BOARD OF COMMISSIONERS

 
 
  

 

: AND NOW, this Ih day of fee ‘ , 2017, judgment is entered sis
above-directed, s

 
 

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“ CaSPETPEMOUISMRSS!DOSUTNEAP SL’ LEONI ML Pages ete
ee
BLAKINGER THOMAS, PC
By: Susan P, Peipher, Esquire
Attorney LD, #87586 |
(717) 509-7239

enn Square
Lancaster, PA 17603

E-mail: gop@blakingerthemascom ,
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Attorneys for Plaintiff . x : ~ ; 3
IN THE COURT OF COMMON PLEAS OF LANCASTER COUNTY, PENN ELVA
| CIVIL ACTION- Law gel
BASTLAMPETER TOWNSHIP : J7-00568 . 3 =
Plaintiff  DocketNo: te

       

The undersigned, David Buckwalter, Of
Lampeter Township, in accordance With the provisions’ cal Tax Collection Law, 72 P.S.
$5511.41, does hereby certify tho amount duc nad owidk iw aes amnete: Township by Jeffrey
Cutler, Tax Collector, and Travelers Casualty and Surety Gefapany of America, for tax years
2014 and 2015, to be the amount of $15,897.19, Said Casa tion is based upon the failure of
Jeffrey Cutler, Tax Collestor, to make timely submission of taxes in accordance with the
attached calculations made by the Lancaster Sainty Controfler,

The Township does hereby certify the >.
_ Snter judgment on the dockets of her office,

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Date: sf2uf mM

 

AND NOW, this agra: ta i

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i Ralph M. Hchion, vey tat amt Towmhip Manager of EAST LaMreren
TOWNSHIP, and as such, } amt authorized to make this Verification on its behalf, and J verify
that the statements mada in the foregoing Petition for Proliminary Yajunction and Wet of
Mandamus are true and Comact to the best of my knowledge, information and belief This
Verification is subject to the penalties of 18 PaCS.A, § 4904, relating to nnswom falelfication to
puthorities,

 

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Case 5:19-cv-00834-JLS Document

   

 

 

 

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Case 5:19-cv-00834-JLS Document 4 Filed 03/11/19 Page 1 of 10

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY CUTLER

CASE NO. 5:1 9-cv-00834
Plaintiff

Vv.

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)
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}
NANCY PELOSI IN HER OFFICIAL}
CAPACITY AS SPEAKER OF THE }
HOUSE OF REPRESENTATIVES
CITIZENS BANK, ) JURY TRIAL DEMANDED
FULTON BANK,
WIKIPEDIA FOUNDATION,
VERIZON CORPORATION,
GOOGLE CORPORATION,
ERIE INSURANCE, }
STATE FARM INSURANCE,
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LEMBERG LAW LLC,

FORD MOTOR COMPANY,
MANHEIM SCHOOL DISTRICT
HAVERFORD POLICE
DEPARTMENT,
PHILADELPHIA NEWSPAPERS INC,
ASSOCIATED PRESS,

U.S, NEWS AND WORLD REPORTS,
BEND BULLETIN NEWSPAPER,

FILED
MAR 1 1 2019

KATE BARKMAN,
By Dep Cerk

 

And
JOHN BOES and JANE DOES,

Defendants

 

MOTION TO CONSOLIDATE CASES
WITH CASE # 1:19-cv-00189 & 2:19-cv-00852

PAGE | of 10
Casese: £7LevcO 11542 BGS Dodaneme7@-l/ FileecOGs120109 Ragecs4o6BS7
ase 5:19-cv-00834-JLS Document 4 Filed 03/11/19 Page 2 of 10

Here comes Jeffrey Cutler, acting pro se, respectfully makes a motion to

Consolidate cases numbers 1:19-cv-001 89 (filed 04FEB2019 titled VICTOR

UKADIKE EZEIBE v. CITY OF YORK, et al.) from the Middle District of

Pennsylvania and case 2:19-cv-00852 (filed 27FEB2019 titled GERALD CAMP v.
CITY OF PHILADELPHIA, et al.) from the Eastern District of Pennsylvania.
Since case #1:19-cv-00189 is from the Middle District of Pennsylvania and was
filed first, it should be the lead case, and actually would be a change in venue.
This motion should be granted to promote judicial efficiency and they all contain
similar civil rights’ violations by government entities violations of EQUAL
PROTECTION under the United States Constitution Ammend 14 and Ammend 5.
Documents filed from this case were discarded on 0iMAR2019,, in federal court,
but only available on Pacer after they were filed in person on 0O7MAR2019.

Documents from lawyers are treated differently than Pro se filers. On March l,

2019 it was also discovered that East Lampeter Township, in Conjunction with
High Inc. conspired together to destroy additional evidence of a Hate Crime that
was identified by mail as possibly being related to crimes committed by Mr.

Bowers in case 2:18-cr-00292 (Western District of Pennsylvania).

WHEREFORE, for all the foregoing reasons, Jeffrey Cutler respectfully

requests that this Court grant the consolidation of cases and change of venue.

PAGE 2 of 10
Cases: 2716ve010542RESM Dobumente79-17 FiléecOGA20199 PageS2b857

DEVNET COMPUTER SYSTEM ERROR

Biits for 310 - EAST LAMPETER TWP (ear 2013)

   

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

bevy | BHYR | Bile, of Account | Type i Owner Nema 3.0051 1} Location folk. v7] Yerisaction ste “| Period Pat 1°] Seuce (| Datad veo] Ambeald 2
: | LANTRIP IGHN & : : ;
’ Print Rece'pt : 2013 75? : 310.02514.1-0001 : Anratal Roll : Cane crime R {3 REO LEAF LN Corctomniniun FOSEOIG Penalty check : Check 1754 : (1877.34)
Bills for 310 - EAST LAMPETER TWP (Wear 2014)
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Bills for 310 - BAST LAMPETER TWP (Year 2043) ee
an vf Ba ¥R | Baw | account hf tyme Sees 7p OwnerName Sb heeatton 00 oo hs | transedlon Dates] Petod Pad} Source | batt we amt Rakh
: : : | LARTRIP JOHN k : i i :
: > = Print Receipt. 2015 23813 : 310-02314- 1-003) Annual Rat : Conn Smee 13 RED LEAF Lil Random : AROS : Dizcourt Check i Check 2125 (B7S1.65)

 

 

 

 

 

Taxpayer: LANTRIP JOHN
LANTRIP SHRLEY R
15 RED LEAF LANE
LANCASTER PA 17602

Tax Bid afd

Assessed Value: %49,500

County Millage Rate: 3.7350
Municipal Millage Rate: 1.7300

Bill Hiamber: 2016072794

Account Number: 310-02314-1-0081
PropertyLocation: 15 REDLEAF LN

Municipality: 310 East Lampeter Twp

 

 

2udiscount if Base tax if 40% penalty i?

prid by paid by psid atter

40/2056. GAOROIE 6480/2016
COUNTY 847.21 $88.38 614.22
MUNICIPAL 253.47 258.64 284.50
TAR AMOUNT DUE ----.> 620.68 BIT02 896.72

 

 

 

 

 

 

 

 

 

 

 

O3MAY2016
Tax Certification
Fee $ 20.00
Make Check Payable to Tax Collector
M_ | Tax Collector
i Attention Administrative Account

L | P.O. Box 26
To: | East Petersburg, PA 17520

 

 

 

 

 

 

I defiray Cutlec, Tax Collactar for Bast LarapeterTownahip de ceriily that
the above information «6 the tue and corest sfatus af the above listed property.

Saced

 

 

 

 

 
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GOZALEZ & REZNIK

 

Plaintiffs
KEN KRIEGER
CASE NO. 2:18-ev-05029

Joiner Plaintiff
Vv.
CITY OF PHILADELPHIA, et al. JURY TRIAL DEMANDED

Defendants

Nese Nee ana Same me Nee nee Nene ee Nee ee eee nine tere? eee”

 

CERTIFICATE OF SERVICE for MOTION TO JOIN CASE AND
COMBINE CASES 2:19-cv-01001 as well as case 2:19-CV-01540 (XXX, et al.
v. PHILADELPHIA PARKING AUTHORITY, et al.)

Cert 2:18-cv-05029 Page | of 2
CaSeSt: P716vc010522E3VDoBumente79-17 FildecDOI2M99 Pages4 0887
CERTIFICATE OF SERVICE

I Ken Krieger, do hereby certify that I as of this day I have correctly served a copy of, Plaintiff's
MOTION TO JOIN COMPLAINT dated 05/20/2019 and Plaintiff's MOTION TO
CONSOLIDATE CASES dated 05/20/2019 to Defendants and Other Plaintiffs via the cm/ecf

system. I also certify that all parties of case # 2:18-cv-05029 are part of the cm/ecf system.

i J ,
Date: Lu M LOY by Louw

Ken Krieger, pyo se
484-433-7539 phone)

kenkrieger(@aol.com
7626 Brockton Road

Philadelphia, PA 19151

Gert 2:18-cv-05029 Page 2 of 2
 

/ Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 55 of 85

. In The .
Hiited States Court of Appeals

for the Fith Civentt

   
  

 
  
 

1910011
JEFFREY CUTLER (EON OT APRS
Intervenor Paintiff-Appellee fn. BAEIVED “Ye
MAR O7 29
STATE OF TEXAS, et al.
Paintiff-A ppellees CETH CIRCUS ~o
Vv.

UNITED STATES OF AMERICA, et al.
Defendants-Appellants

STATE OF CALIFORNIA, et al.
Intervenor Defendants-Appellants

NANCY PELOSI
Intervenor Defendants-Appellant

Appeal from the Order/Judgment entered Dec 14, 2018 in the United States District
Court for the Norther District of Texas at No. 4:18--cv-00167-0

RESPONSE TO NANCY PELOSI’S PETITION OF 03JAN2019
ORAL ARGUMENTS REQUESTED

PAGE 1 of 24

 
Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 56 of 85

The petitioner, Jeffrey Cutler, acting pro se, respectfully identifies that Nancy
Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli Jr.)
stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in
case 4:18-cv-00167-0, a significant federal crime. During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref>https:/Avww.youtube.com/watch?v=OV7dDSebaQ0 </ref>
she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A. The individual mandate
of Obamacare violates the United States Constitution Ammend 1.

WHEREFORE, for all the foregoing reasons, petitioner respectfully
requests that this Court Declare Obamacare UNCONSTITUTIONAL, during an

immediate ENBANC review of this case.

Respectfully submitted,

DATE: 284Eh207/F Lf. i) Me fo __

bk

/ Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollectorégmail.com

P.O. Box 2806
York, PA 17405

 

PAGE 2 of 24
Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 57 of 85

CERTIFICATE OF SERVICE

I hereby certify that on March 01, 2019, I filed
the foregoing with the Clerk of the Court for the
United States Court of Appeals for the Fifth
Circuit via next day United States Mail.
Participants in the case who are registered
CM/ECF users will be served by the appellate
CM/ECF system. I further certify that all of the
other participants or their lawyers in this case are

registgred CM/ECF useys.
/ / 7 ZX = fo LE Fix BZ OVF

ort

Idffrey Cutler
Po /

CERTIFICATION OF COMPLIANCE
This brief complies with the type-volume limitations of Fed. R. AP. P. 35(b)(2)

and Circuit Rule 40-1 because this brief contains no more than 15 pages,
excluding the parts of the brief exempted by Fed. R. AP. P. 32.

Respectfully submitted,

 

DATE: 28/1220

 

yr
/ Jeffrey Cutler, pro se

“215-872-5715 (phone)

eltaxcollector@ameail.com

P.O. Box 2806
York, PA 17405

PAGE 3 of 24
Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 58 of 85

ADDENDUM

PAGE 4 of 24
Case 117-y OL St ESS DOSE oe HGP BP o Base sb BP es

A er UNITED STATES DISTRICT COURT
5 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY CUTLER

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Plaintiff
Vv.

NANCY PELOSLIN HER OFFICIAL
CAPACITY AS SPEAKER OF THE
HOUSE OF REPRESENTATIVES,
CITIZENS BANK,
FULTON BANK,
WIKIPEDIA FOUNDATION,
VERIZON CORPORATION,
GOOGLE CORPORATION,
ERIE INSURANCE,
STATE FARM INSURANCE,
LEMBERG LAW LLC,

FORD MOTOR COMPANY,
MANHEIM SCHOOL DISTRICT,
HAVERFORD POLICE
DEPARTMENT,
PHILADELPHIA NEWSPAPERS INC,
ASSOCIATED PRESS,

U.S. NEWS AND. WORLD REPORTS,
BEND BULLETIN NEWSPAPER,

JURY TRIAL DEMANDED

 

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and
JOHN DOES and JANE DOES,

Defendants

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COMPLAINT

PRELIMINARY STATEMENT

PAGE 1 of 17
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CASE BI O-COOBILITS ” Boclinen T Filed WES” Bags 6 F307
Case 1:17-cv-O1ISLEGS Document 79:1 | Hied 662/19 BAGS 8 Pas
against the states by the Fourteenth Amendment, protects the people from

unreasonable seizures of their person. The Fourteenth Amendment, also
protects persons from unequal treatment under the law, as well as the Fifth
Amendment. The Plaintiff in this matter was surrounded by police and
detained based on an individual at Citizen’s bank trying to conceal and hide
a reasonable suspicion, of an illegal act (furtherence of a crime), namely
bank robbery (18 USC § 2113) via the internet. The crime was triggered via
story by Andrew Maykuth for the Philadelphia Inquier, philly news
targeting Cutler and that it was "using its vast financial resources to enter
the bully pulpit by publishing a series of false and defamatory statements an
online article ... to smear an individual who was in its view an enemy of the
deep state, released to the internet on 11DEC2019 and printed 12DEC2019
which was a link to individuals that carried out the crime, never even
mentioning Lisa Michelle Lambert. The story also made light that ordinary
individuals should not be elected, and slandered every Jeffrey Cutler and
Tax Collector in the United States. Plaintiff's emotional distress, terror,
apprehension, anxiety, and humiliation, damage to his reputation and
potential long term carreer as an elected official. It also failed to get a
release form for the shirt which a copyright was previously applied and the
story tried to act as a barometer of when someone is religious and hide all

types of political misconduct including mail fraud.

PAGE 2 of 17
Case 5:19-cv-00834-JLS" Document 1” Filed 02/26/19 Page 6 of 2
Case EPH VOTE ESS De da EG BERS o BABE 81 OF a5
2. This Court has jurisdiction over the subject matter of this Complaint

under 42 U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), 1343(a)(4),

and 1367(a).

PARTIES

3. Jeffrey Cutler, the Plaintiff “Mr. Cutler” or “Plaintiff’) is a resident
of Bird In Hand, Pennsylvania.

4, Nancy Pelosi is the current speaker of the House of representatives and
United States Congresswoman elected from the state of California.

5. Citizen’s Bank is a multi-state bank with corporate headqurters in Rhode
Island.

6. Fulton Bank is a multi-state bank with corporate headqurters in Lancaster
County Pennsylvania.

7. Wikipedia Foundation is an international information depositry that is a
503(1)(c) coprporation based in the state of California,

8. Verizon Corporation is an international information depositry that has a
corporate headqurters in New York, State.

9, Google Corporation is an international information depositry that has a
corporate headqurters in the state of California.

10.Erie Insurance is an insurance company with corporate headqurters in the

Commonwealth of Pennsylvania.

PAGE 3 of 17
— Case 5:19-cv-00834-JLS Document 1 Filed 02/26/19" Page 7 of 20."
Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 62 of 85
the Bloomington, Illinois.

12.Lemberg Law, LLC is a legal firm with corporate headqurters in Wilton ,
Connectitcut.

13.Ford Motor Company is an international manufacturer of vehicles with
corporate headquarters in the Dearborn, Michigan.

14.MANHEIM SCHOOL DISTRICT is a Pennsylvania government agency for
municipality located in the County of Lancaster, Commonwealth of
Pennsylvania.

15.Haverford is a municipality located in the Delaware County of
Commonwealth of Pennsylvania.

16.Philadelphia Newspapers Inc. is a media company in Philadelphia County
of Commonwealth of Pennsylvania.

17.The Associated Press is a media company that has a corporate headqurters
in New York, State.

18.The U.S. News and World Report that has a corporate headqurters in New
York, State.

19.Bend Bulletin is a newspaper owned by Western Communications is a
media company, operatiing in Bend Oregon.

20,John Doe and Jane Doe defendants are, upon information and belief,
members of the Klu Klux Klan or supporters to as “Individual Defendant”
or “Individual Defendants”).

FACTUAL ALLEGATIONS

PAGE 4 of 17
1) On Gage verine, Biel ite’s T AosUMS Aly dal led GAGHHH dcr AIG S-GPdse
police report (20190212M2410) at the Citizen’s Bank in the Giant
Supermarket (116 W Township Line Road).

2) The defendent called the police when Mr. Cutler showed the bank manager he
had placed a redacted copy of a statement in a document in the United States
Court of Appeals case #18-3693 (document # 003113157254 page 10). This is
related to CFPB complaint #1902 XX-XXXXXXX.

3) At minimum 3 police cruisers were positioned outside the Giant supermarket.

4) Mr. Cutler was surrounded by police officers from the Haverford police
department subject to view and suspicion of everyone in the Giant supermarket
at the time. Only 2 officers were listed on the report #201902 12M2410.

5) Mr. Cutler was prevented from assisting his mother (who has difficulty
hearing) or helping review documents being signed. This has been an ongoing
effort by members of the Klu Klux Klan or other secrect society to target Mr.
Cutller for being Jewish and people around him because he challenged
Obamacare starting Dec 31, 2013.

6) Mr. Cutler talked to the police officer (Thomas McDermott) and showed him
documentation he had with him that demonstrated that he previously run as a
write-in candidate for Governor of Pennsylvnia (Page 15 — Philadelphia Metro

Newspaer, October 24, 2018).

PAGE 5 of 17
started from the OLDE EGS account on the same day the money was credited to
the money market account.

8) At no time did the police question Mr. Cutler’s mother about what was going
on during the confrontation, while in view of Mr, Cutler. The office of the
branch manager is approximately a 10’ x 10’ enclosure.

9) Mr. Cutler was handed a no tresspass letter signed by the branch manager
(Ralph Rinn) by the haverford police. This letter was similar to the letter he
was handed by the East Lampeter Police officers on October 2, 2017 when he
was removed illegally from his appartment at 67 Cambridge Village, Lancaster
Pa. 17602, in lieu of a legal eviction (which is the basis of case 18-3693). On
May 13, 1985, 5 black children (ages 7-13) were murdered when the FBI
furnished 2 bombs as a form of eviction.

10) The realization that the Individuals surrounding Mr. Cutler were carryng
firearms, and tasers provoked feelings of terror, panic and anxiety in Mr.
Cutler.

11) Mr. Cutler asked officer McDermott if he was related to ADA McDermott of
the Philadelphia district attorney’s office. Mr, Cutler had previously reported
Bank and Insurance fraud to the office of the FBI, and got a CEASE &

DESIST email from the FBI, mentioning not to report those crimes to the FBI

and not report those crimes to the ADA either.

PAGE 6 of 17
ESN ees Dota Id EG SeH a Bag es
he tried to make a complaint about Citizen’s bank, but was ignored in this
effort.

13) On 14FEB2019 Mr. Cutler reported the false Police report by Citizen’s bank,
#20190214M25 15, no investigation has been started to his knowledge. This
demonstrates unequal protection under the law. A crime in Chicago is
investigated (Jussie Smollet) while this crime is not investigated. A violation
of the United States Constitution Ammend 5, equal protection.

14) The incident of February 12, 2019 between Individual Defendants and Mr. Cutler
has caused mental and emotional suffering to Mr, Cutler, including panic attacks
causing Mr. Cutler to physically shake, and nightmares.

15) Approximately three days following the incident of February 12, 2019, Mr.
Cutler contacted the Police to inquire about information concerning the
investigation of the incident and was informed that there were no records
pertaining thereto.

CLAIMS FOR RELIEF

COUNT I. False Arrest in Violation of the Fourth
and Fourteenth Amendments

16) Plaintiff hereby incorporates the allegations contained in paragraphs 1)
through 15) and all coclusuions in previous Federal Appeal Court cases by him
17-2709, 18-1816 and 18-3693 and all their underlying documents.

17) The Fourth Amendment prohibition against unreasonable searches and

seizures, as incorporated against the states through the due process clause of

PAGE 7 of 17
“| Case 5:19-cV-00834-IES” Boctiment T Filei 0336/19 “Bade 11 of 26
Case 1:2 7-CV01154-EGS” Document 79-1 ‘Efed darari9° Hkyo'68! des
enforcement officers from making an arrest or investigatory stop without

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probable cause or reasonable suspicion.

18) All defendants acted under color of state law or federal law, in a conspiracy
to support the narratve that covers the bank robbbery of Mr. Cutler’s bank
account, theft of 100% of his possessions and all records with zero
compensation, despite having 2 insurance policies in effect at the time.

19) Individual Defendants violated Plaintiff's constitutional right to be free
from unreasonable searches and seizures by confining him, confining him, and
without probable cause based on petjured testimony or reasonable suspicion.
failed to take steps to properly train and supervise Individual Defendants.

20) Specifically, Haverford Township in conspiracy, upon information and belief,
was aware that Individual Defendants and/or other police officers arrested
individuals in violation of the U.S. Constitution and failed to train, provide
proper supervision, or otherwise protect against such abuses.

21) Accordingly, Haverford Township is liable for the unconstitutional conduct of
Individual Defendants within the meaning of Monell v. Department of Social

Services, 436 U.S. 658 (1978).

COUNTIL False Arrest
22) Plaintiff hereby incorporates the allegations contained in paragraphs (1

through (22, plus the book https://www.amazon.com/Love-Murder-

PAGE 8 of 17
REE RTE LRG DTS LF ates
refeerences.

23) Individual Defendants intentionally confined Mr. Cutler against Mr.
Cutler’s will under the threat of lethal force, to conceal a crime bank robbery
(18 USC § 2113). They also manufactured evidence to do the same thing to
Lisa Michelle Lambert and have confined her in prison for over 25 years.

24) Mr. Cutler was confined within fixed boundaries to which there was no
reasonable means of escape known to Mr. Cutler.

25)Individual Defendants lacked probable cause or reasonable suspicion to
confine Mr. Cutler and accordingly, such confinement was not privileged.

26) Individual Defendants are agents or employees of Haverford township and were
acting within the scope of their agency or employment.

27) Accordingly, Haverford Township may be held liable for the tort of false arrest
under a respondeat superior theory of liability in addition to its failure to train
or supetvise its agents and employees as referenced in Count I.

COUNT HIE. Invasion of Privacy

28) Plaintiff hereby incorporates the allegations contained in paragraphs (1
through (27,

29) Individual Defendants intruded upon the seclusion of Mr. Cutler in
confining his person and, accordingly, such Defendants are liable for the tort of
invasion of privacy.

30) Individual Defendants are agents or employees of Haverford Township and

were acting within the scope of their agency or employment.

PAGE 9 of 17
SHS SERRE ORHeRT ET ERS Bagh as
for the tort of invasion of privacy under a respondeat superior theory of liability
in addition to its failure to train or supervise its agents and employees as
referenced in Count I.

COUNT IV. — Civil Conspiracy

32)Plaintiff hereby incorporates the allegations contained in paragraphs 1) through
31).

33)Individual Defendants acted together with a common purpose in committing the
unlawful acts alleged in Counts I through III and defendants’ acts in carrying out
such civil conspiracy caused injury to the plaintiffi Accordingly, Defendants have
committed the tort of civil conspiracy.

COUNT V. Conspiracy under Federal Law

34)Plaintiff hereby incorporates the allegations contained in paragraphs 1) through
33).

35)Individual Defendants together, in concert, to deprive Mr. Cutler, Lisa Michelle
Lambert and William Henry Cosby of the equal protection of the laws and/or
equal privileges and immunities under the laws. Accordingly, Defendants have
conspired to violate Mr. Cutler’s civil rights pursuant to 42 U.S.C.S, § 1985(3),
and United States Constitution Ammend 14. The bribing or coercion of a lawyer
working to defend an individual is a guarrantee of ineffective council. The
speaker of the House of Representattives through her lawyers made a false

statement in court and violated (18 USC § 1001) on 03JAN2019 on page 24 of

the filing in case 4:1 8-cv-00167-0, a significant federal crime.

PAGE 10 of 17
Case LTO SE ERS? DOCTORS dea LE CEASA 9 BAGS SE'FSS

REQUESTED RELIEF

Wherefore, plaintiff respectfully requests:
A. Compensatory damages as to all defendants;

B, Punitive damages as to Individual Defendants, capped at a total maximum
amount of 6 Billion Dollars;

C, Declare “The sections of the “Consolodated Appropriations Act, 2019”
Unconstitutional that deal with immigration legal assistence. LE entire
section 224 since the goverenment has actively prevented Mr. Cutler from
obtaining legal assistance via consent decree, and this violates equal
protection of the law and United States Constitution Ammend 5.

D, Reasonable attorneys’ fees and costs;
E. Declaratory, injunctive and other equitable relief, and

¥, Such other and further relief as may appear just and

appropriate, Plaintiff hereby demands a jury trial.

Respectfully submitted,

DATE: 26 FE Zo/9 | Yi SL
fethot Cutler, pro se

215-872-5715 (phone)
eltaxcollector@email.com
P.O. Box 2806

York, PA 17405

  

PAGE II of 17
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ADDENDUM

PAGE 12 of 17
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FRAUD & ae G 5

 

a Jeffrey Cutler To All: Allached | is a TAX cert and p page 2 of 14 from... ® Jan 30 v7

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Me. Cutler,

Cease and desist adding myself and ADA MceDemott to any more of your
emails regarding this matter, Special Agent Milligan

From: Jeffrey Cutler [mailto:gltaxcollector@amail.com]
Sent: Sunday, January 29, 2017 11:40 PM

To: Murray, Jahn <JoMurray@ipaauditor.qov>:
JAN MCDERMOT T@phila.gov, Dave Brown
<daye@pearsonioutcherlaw.com=>; Milligan, Joseph A. (PH) (FBI)

<Jaseph Milliuan@ic fbi gov>
Subject: CONSPIRACY TO COMMIT BANK & INSURANCE FRAUD

Joffrey Cutler <eltaxcollactan@gmail. cam> @ Jan30 -s {ow

to whmemichael, jhaskins, dyerushalmi, djacob, lalobell, Dave -~:
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See the message below. | arn involved with a bunch of People that are
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Jeff Cutler

717-654-4716
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Mall Fraud Complaint FDIC COMPLAINT 00930188 POLICE WW-18-08791

   

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Call Phone: (219) 872.5718, Work Phone (215) 631-9583 1
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UNITED STATES POSTAL INSPECTION SERVICE

 

 

CRIMINAL INVESTIGATIONS SERVICE CENTER

02/19/2019

Ref: CIFMM|013/S1437380/C 1896019
Dear Postal Customer:
Thank you for the information you provided this office regarding:

TINO CABRAL

CITIZENS BANK

1 CITIZENS BANK WAY
JOHNSTON RI 02919-1922

A review of this matter indicates that your complaint would be best handled by:

INSPECTOR IN CHARGE
USPIS BOSTON DHQ

495 SUMMER ST SUITE 600
BOSTON MA 02210-2114

Please be advised that your complaint has been forwarded to the address above
for whatever action they deem appropriate. Any future concerns relating to this
matter should be directed to the address shown above.

Sincerely,

MANAGER
CRIMINAL INVESTIGATIONS SERVICE CENTER

433 W HARRISON STREET ROOM 3255
CHICAGO IL 60699-3255

TELEPHONE: 800-372-8347

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
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provided by local rules of court. This form, approved by the Judicial Conference of the

nited States in mber 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil dacket sheet. (SE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

L (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff? / APL CAGEN C. R. Greed
(EXCEPT IN U.S. PLAINTIFF CASES)

(€) Attorneys (Firnt Nome, Address, and Telephone Number)

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DEFENDANTS oy
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( 240 Torts to Land C3 443 Housing/ Sentence 26 USC 7609 Agency Decision
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Litigation -
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VIL REQUESTED IN
COMPLAINT:

VIUL RELATED CASE(S)

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UNDER RULE 23, ER.Cv.P.

CHECK YES only if demanded in complaint:
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Case oL9-Cv-V0834-JLS Document 1 Filed 02/26/19 Page 3 of 20
Case 1:17-cv-01154-EGS Document 79-1 Filed 06/12/19 Page 77 of 85

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
CIVIL ACTION

NO. 19 O83 4

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 ofthe plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

 

management cases.) ( )
(f) Standard Management -- Cases that do not fall into any one of the other tracks. A
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In The Lop 3
GAnited States Court of Appeals ~~

for the Third Circuit

18-1816

JACOB CORMAN IN HIS OFFICIAL CAPACITY AS MAJORITY LEADER OF THE
PENNSYLVANIA SENATE; MICE FOLMER: IN HIS OFFICIAL CAPACITY AS CHAIRMAN OF
THE PENNSYLVANIA STATE SENATE GOVERNMENT COMMITTEE; LOU BARLETTA; RYAN
COSTELLO, MIKE KELLY; TOM MARINO ; SCOTT PERRY; KEITH ROTHFUS; LLOYD
SMUCKER; GLEN THOMPSON; JEFFREY CUTLER

Vv.

SECRETARY COMMONWEALTH OF PENNSYLVANIA; COMMISSIONER BUREAU OF
COMMISSIONS, ELECTIONS & LEGISLATION

CARMEN FEBO SAN MIGUEL; JAMES SOLOMON; JAMES GREINER; JOHN CAPOWSKI;
GRETCHEN BRANDT; THOMAS RENTSCJILER; MARY ELIZABETH LAWN; LISA ISAACS; DON
LANCASTER; JORDI COMMAS; ROBERT SMITH; WILLIAM MARX; RICHARD MANTELL;
PRISCILLA MCNULTY; THOMAS ULRICH; ROBERT MCKINSTRY; MARK LICHTY; LORAINE
PETROSKY
(ntervenors in District Court)

JEFFREY CUTLER,
Appellant

Appeal from the Order/Judgment entered April 10, 2018 in the United States District
Court for the Middle District of Pennsylvania at No. 1-18-cv-00443

BRIEF AND APPENDIX FOR
APPELLANT/INTERVENOR-PLAINTIFF
Volumes I of II (pgs. 1a-33a)

JEFFREY CUTLER
P.O. Box 2806
York, PA 2806
(215) 872-5715

Pro Se Appeliant

Wright Appellate Services, LLC 0521

(215) 733-9870 « (800) 507-9020 - Fax (215) 733-9872
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The final result was an above- the-range sentence that cannot be justified by the record,
and is unduly punitive based on the totality of circumstances. Because the final sentence
does not represent the statutorily mandated minimally sufficient sentence, it is
substantively unreasonable. Because of the number of documents that appear to be
altered (AA339)(AA587) or late, even in federal court. In previous appeals (16-3164)
parts of Rand Paul’s book “Government Bullies” which was photocopied as part of the
appeal it was obscured and made unreadable. Robert Mueller was the director of the FBI
on Neweniber 4 2003 when Jonathan Luna, (POSSIBLY BY MEMBERS OF THE KLU
KLUX KLAN) was found MURDERED in Lancaster county, Pennsylvania. Five days
after the death James Comey may have been given the number 2 position at the DOJ, to
help cover-up the murder. At the time of the MURDER Andrew McCabe was in charge
of the criminal division of the FBI. The FBI tried to get the coroner of Lancaster, county
to call the MURDER a SUICIDE. Mr. McCabe was fired from the FBI for lies he made
on March 16, 2018.

April Brooks made the FALSE statement "There's no evidence to show that he met
his death at the hands of any other individual," Brooks said. "Or that he had seen or been
with any other individual that night. You have naysayers and you have a divergence of
(law enforcement) opinion," she said. "But again, we turned over every rock. We are
confident that there is nothing hanging out there to find."
<ref>http://articles.chicagotribune.com/20 12-08-29/news/sns-rt-us-usa-security-

fbibre87s0u5-20120829_1_white-collar-crime-drug-gangs-gang-cases</ref>., even

- Page 28 —
Caggish81i81-¢v-OD0SMHGE: OOS4tIGR001961 PikgbOBEL2/1Datedgted 108/86/2018

though this contradicts the report of the Lancaster county coroner. Flora Posteraro was
fired <ref>https://www.ydr.com/story/news/2018/03/13/abc-27-anchor-leaves-station-
says-not-my-choice/421175002/</ref> the same day Jeffrey Cutler emailed a reminder
that on the 10 year anniversary of Luna’s death WHTM had done a story that mentioned
the FBI cover-up <ref>https://www.youtube.com/watch?v=LOX QSptqGKQ</ref>. The
Baltimore Sun reported of the FBI cover-up on the 5 year anniversary of Luna’s death
<ref> http://www.baltimoresun.com/news/maryland/bal-md.luna3 0nov30-story.html
</ref>

Based on United States v. Williams, 341 U.S. 58 (1951) and Gill v. Whitford,
(Supreme Court 2018) and Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights
Commission, and that that Susan Peipher and Christina Hausner were involved in
suboming perjury, destroying or concealing evidence, witness tampering, and

concealing income or assets, Mr. Cutler requests the following conclusion.

CONCLUSION

For the foregoing reasons, Appellant Jeffrey Cutler respectfully submits that

hereby requests that the court grant his Permanent Injunction and enjoin the enforcement of

the revised voting map, a new election date set using the previously approved voting

districts, bar all Pennsylvania judges from submitting remedies which knowingly violate the

Pennsylvania constitution, bar any further enforcement of “Obamacare”, remove all penalties

from plaintiffs, declare executive ORDER 9066 UNCONSTITUTIONAL, and bar the

- Page 29 —
CaGaisht1B7-6v-ODDS4HEGE: UDStdSe0G7961 PikegbO86l2/1Datedgted?2 08/85/2018

review, and distribution, of documents siezed of Mr. Cutler/Mr. Cohen and the suspension of
further action in NY cases known as 1:18-cv-03501 and 1:18-mj-03161KMW., and other
remedies that court deems appropriate, and vacate the sentence for Jeffrey Cutler, Lisa
Micheile Lambert, and Jammal Harris and all persons similarly situated. Also stop retrial of
case 1:16-cr-10233-RGS so these people are not treated differently than Senator Menendez,
or John Corsine in the MF Global fraud case.

Respectfully submitted

Us) C-
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Pro Se

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York, PA 17405
eltaxcollector@gmail.com
Tel: (215) 872-5715
Appellant

 

Originally Dated: July 16, 2018

Date Vole C5, EU C
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- Page 30 —
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Case ase Aco S4424S)| Doddonent79: 60 Fide O64/289.9 Page83. off 85

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY CUTLER
Plaintiff
V.

NANCY PELOSI IN HER OFFICIAL
CAPACITY AS SPEAKER OF THE
HOUSE OF REPRESENTATIVES
CITIZENS BANK,
FULTON BANK,
WIKIPEDIA: FOUNDATION,
VERIZON CORPORATION,
GOOGLE CORPORATION,
ERIE INSURANCE,
STATE FARM INSURANCE,
LEMBERG LAW LLC,
FORD MOTOR COMPANY,

 

MANHEIM SCHOOL DISTRICT,
HAVERFORD POLICE
DEPARTMENT,
PHILADELPHIA NEWSPAPERS INC,
ASSOCIATED PRESS,

U.S. NEWS AND WORLD REPORTS,
BEND BULLETIN NEWSPAPER,

And
JOHN DOES and JANE DOES,

Defendants

 

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CASE NO. 5:19-ev-00834

JURY TRIAL DEMANDED

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ARKMAN, Clerk
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AFFIDAVIT AND CERTIFICATE OF SERVICE

Cert 5:19-cv-00834 Page 1 of 2
Case aS87ocVs0 SWS) Bodunvemt ot £0 Filet O@42/3.4.9 Payee affsb
AFFIDAVIT AND CERTIFICATE OF SERVICE

I Jeffrey Cutler, do hereby certify that I as of this day I have caused correctly served a copy of
federal SUMMONS IN CIVIL ACTION dated 02/26/2019, Plaintiff's COMPLAINT dated
02/26/2019 and Plaintiff's MOTION TO CONSOLIDATE CASES dated 03/11/2019 to
Defendants as addressed and specified below via direct service with an individual over 18
years old, or United States Mail as per Bend Bulletin Newspaper. With this Affidavit all

named individuals have been properly served.

TIMOTHY NECASTRO, CEO & PRESIDENT BEND BULLETIN NEWSPAPER
ERIE INSURANCE CORPORATE HEADQUARTERS ALBERT N. KENNEDY

100 ERIE PLACE 888 SW 5" AVE, #1600

ERIE, PA 16350 PORTLAND, OR 97204

  

Date: Zi egy LZOlF

 

 
  
 

Cutler, pro se
Y'1 3-872-5715 (phone)
eltaxcollector@gmail.com
P.O. Box 2806

York, PA 17405

Cert 5:19-cv-00834 Page 2 of 2
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* Furst Name’ “LastName: CUTLER
* Address:
City:
* State: *
“2iP Code. ere
* Country” UNITED STATES . ¥
Celi Phone: (215) 872.5715 Work Phone’ (717) 8544718
Home Prone: (717) 390.9991 Fax
Emad Adoress. ettaxcotlector@igmaa.com
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Additional Information

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TO VOTE IN MY DISTRICT AND FILE A RESPONSE.

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White we can'l guarantee that we can recover last money or items, your Information can hep atert Inspectors lo probiem
areas and possibly prevent other peopte from being victimized. U.S. Poslai Inspectors base their Investigations on the
qumber. substarce, and pattem of compiaints received from the public

We ask you to keep all nginat documents related to your complaint. We wii codlact you ONLY # more information is
needed.
